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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,

          Plaintiff,

   v.                                                 No. 3:18-cv-00017-NKM-JCH
   ALEXANDER E. (ALEX) JONES, et al.,

                  Defendants.



                           STIPULATION ANDORDER

         WHEREAS, Plaintiff Brennan Gilmore (“Gilmore”) sued Defendants Michele Hickford

  (“Hickford”) and Words-N-Ideas, LLC (“WNI”) for defamation in connection with WNI’s

  publication of “BOMBSHELL: New evidence suggests Charlottesville was a complete SET-UP”

  (the “WNI Publication”) on August 19, 2017;

         WHEREAS, the WNI Publication contained a republication with language pertaining to

  Gilmore and the August 2017 Unite the Right rally;

         WHEREAS, WNI, when it relied upon its source, had no evidence that Gilmore was

  involved in a set up or in any other way with the August 2017 Unite the Right rally in

  Charlottesville and the terrorist attack that killed Heather Heyer;

         WHEREAS, Hickford and WNI do not contest Gilmore’s allegation of defamation;

         WHEREAS, the parties desire to amicably resolve all claims arising out of this action;

         WHEREAS, in lieu of damages, Hickford and WNI agree to make a joint charitable

  donation of two thousand five hundred dollars ($2,500) to the Legal Aid Justice Center;
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         WHEREAS, Gilmore, Hickford, and WNI, having entered into a settlement agreement,

  hereby stipulate to the entry of an order in this action, as follows:

                   IT IS ORDERED, ADJUDGED, AND DECREED as follows:

                   1.    This Court has jurisdiction over the subject matter of the above action and

         has personal jurisdiction over the parties for purposes of this action and as set forth in

         Paragraph 4 below.

                   2.    Hickford admits liability for the claims asserted by Gilmore in this action.

                   3.    WNI admits liability for the claims asserted by Gilmore in this action.

                   4.    As a condition of settlement, Hickford and WNI have agreed to make a joint

         charitable donation of two thousand five hundred dollars ($2,500) to the Legal Aid Justice

         Center.

                   5.    The parties agree that this Court will retain jurisdiction to enforce the terms

         of the parties’ settlement agreement and to enforce and resolve any disputes related thereto,

         if necessary.

                   6.    This action and all defenses thereto are hereby dismissed with prejudice and

         without costs, disbursements, or attorneys’ fees to any party.



   /s/ Hassen A. Sayeed____________                     /s/ Mia Yugo
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   Attorneys for Plaintiff
                              SO ORDERED this _WK day of __-XQH__________, 2021.


                                             _______________________
                                             NORMAN K. MOON
                                             SENIOR UNITED STATES DISTRICT JUDGE




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